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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

  SAHILY BUNT,
                                                                         Civil Action No:
                                          Plaintiff(s),
                                                                         COMPLAINT


         -v.-
  CONTRACT CALLERS, INC.,
                                        Defendant.

        Plaintiff Sahily Bunt ("Plaintiff" or “Bunt”) by and through her attorneys, RC Law Group,

 PLLC, as and for its Complaint against Defendant Contract Callers, Inc. ("Defendant") respectfully

 sets forth, complains and alleges, upon information and belief, the following:



                       INTRODUCTION/PRELIMINARY STATEMENT

          1.    Plaintiff brings this action for damages and declaratory and injunctive relief arising

      from the Defendant's violation(s) of section 1692 et. seq. of Title 15 of the United States Code,

      commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”).



                                             PARTIES

          2.    Plaintiff is a resident of the State of Florida, County of Miami-Dade, residing at

      15438 Bunt, Miami, FL 33196.

          3.    Defendant is a debt collector with an address at 501 Greene St., 3rd Fl., Ste 302,

      Augusta, GA 30901.

          4.    Contract Callers, Inc. is a "debt collector" as the phrase is defined in 15 U.S.C.

      § 1692(a)(6) and used in the FDCPA.
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                                  JURISDICTION AND VENUE

         5.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as

      15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendant

      jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § 1367(a).

         6.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).



                                   FACTUAL ALLEGATIONS

         7.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully state herein with the same force and effect as if the same were set forth at length

      herein.

         8.     Upon information and belief, on a date better known to Defendant, Defendant began

      collection activities on an alleged consumer debt from the Plaintiff (“Alleged Debt”).

         9.     This debt was incurred as a financial obligation that was primarily for personal,

      family or household purposes and is therefore a “debt” as that term is defined by 15 U.S.C.

      § 1692a(5).

         10.    On or around June 30, 2016, Defendant sent the Plaintiff a collection letter that

      directed Plaintiff to Defendant’s website to make payment.

         11.    Plaintiff signed onto Defendant’s website payment center in order to gain more

      information about the Alleged Debt.

         12.    Defendant’s website advised Plaintiff that Defendant charges a $5.00 convenience

      fee to make payment through its website.
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          13.   Plaintiff did not agree to such a collection cost and the $5.00 collection fee on the

      Alleged Debt far exceeds any reasonable costs of collection for this account.

          14.   The addition of this collection fee by Defendant, which was not authorized by the

      agreement creating the debt or permitted by law, was an attempt to collect an amount not owed

      by Plaintiff.

          15.   As a result of Defendant's deceptive, misleading and unfair debt collection practices,

      Plaintiff has been damaged.


                                    FIRST CAUSE OF ACTION
                                     (Violations of the FDCPA)

        16.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

    though fully stated herein with the same force and effect as if the same were set forth at length

    herein.

        17.     Defendant's debt collection efforts attempted and/or directed towards Plaintiff violate

    various provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e, 1692e(5),

    1692e(10), 1692f and 1692f(1).

        18.     As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged

    and is entitled to damages in accordance with the FDCPA.



                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff Sahily Bunt demands judgment from the Defendant Contract Callers, Inc.

 as follows:

        a)      For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)1);

        b)      For statutory damages provided and pursuant to 15 U.S.C. § 1692k(2)(A);
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       c)     For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

       d)     A declaration that the Defendant’s practices violated the FDCPA; and

       e)     For any such other and further relief, as well as further costs, expenses and

              disbursements of this action as this Court may deem just and proper.



 Dated: Hackensack, New Jersey
        March 30, 2017

                                                           /s/ Michael Jay Ringlheim
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